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                             IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Kenneth Macek, Matthew Harner, Avi Setton,
Lionel Alicea, and Robert Walker, individually
and on behalf of all others similarly situated,
                                                    Civil Action No. 2:25-cv-01995-JFL
                           Plaintiffs,
                                                    Judge Joseph F. Leeson, Jr.
       v.

DraftKings, Inc.; Crown PA Gaming Inc. d/b/a
DraftKings; Golden Nugget Online Gaming LLC,

                           Defendants.


                           DEFENDANTS’ MOTION TO DISMISS
            PLAINTIFFS’ CLASS ACTION COMPLAINT PURSUANT TO F.R.C.P. 12(b)

             Defendants DraftKings Inc., Crown PA Gaming Inc. d/b/a DraftKings, and Golden Nugget

   Online Gaming LLC respectfully move to dismiss Plaintiffs Kenneth Macek, Matthew Harner,

   Avi Setton, Lionel Alicea, and Robert Walker’s (“Plaintiffs”) Class Action Complaint with

   prejudice pursuant to Federal Rule of Civil Procedure 12(b)(1) and (6). The basis for the relief

   requested in this motion is set forth in the accompanying memorandum of law. A proposed form

   of order is attached.

   Dated: June 24, 2025                   By: /s/ Melissa L. Perry

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Kenneth Macek, Matthew Harner, Avi Setton,
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                                                      Judge Joseph F. Leeson, Jr.
       v.

DraftKings, Inc.; Crown PA Gaming Inc. d/b/a
DraftKings; Golden Nugget Online Gaming LLC,

                           Defendants.


                                                  ORDER



            AND NOW, this _____ day of _________________, 2025, upon consideration of the

   Motion of Defendant DraftKings Inc., Crown PA Gaming Inc. d/b/a DraftKings, and Golden

   Nugget Online Gaming LLC to Dismiss Plaintiffs’ Class Action Complaint pursuant to Federal

   Rule of Civil Procedure 12(b)(1) and (6) (the “Motion”), and Plaintiffs’ response thereto, if any,

   and for good cause shown, it is hereby ORDERED that the Motion is GRANTED and Plaintiffs’

   Class Action Complaint is DISMISSED in its entirety WITH PREJUDICE as to Defendants

   DraftKings Inc., Crown PA Gaming d/b/a DraftKings, and Golden Nugget Online Gaming LLC.

                                                         BY THE COURT:




                                                  The Honorable Joseph F. Leeson, Jr., U.S.D.J.




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                             IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Kenneth Macek, Matthew Harner, Avi Setton,
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                                                  Judge Joseph F. Leeson, Jr.
       v.

DraftKings, Inc.; Crown PA Gaming Inc. d/b/a
DraftKings; Golden Nugget Online Gaming LLC,

                           Defendants.



    MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
                PLANTIFFS’ CLASS ACTION COMPLAINT




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         Defendants DraftKings Inc., Crown PA Gaming Inc. d/b/a DraftKings, and Golden

Nugget Online Gaming LLC submit this Memorandum of Law in support of their Motion to

Dismiss Plaintiffs’ Class Action Complaint (the “Motion”) Pursuant to Rule 12(b)(1) and (6) of

the Federal Rules of Civil Procedure.

I.       INTRODUCTION

         Defendants DraftKings Inc. and Crown PA Gaming Inc. d/b/a DraftKings (collectively,

“DraftKings”) operate an online casino (“DK Casino”) and an online sportsbook platform (“DK

Sportsbook”) in Pennsylvania. Defendant Golden Nugget Online Gaming LLC (“Golden

Nugget” and, collectively with DraftKings, “Defendants”), a subsidiary of DraftKings, operates a

separate online casino in Pennsylvania (“Golden Nugget Casino”). Plaintiffs Robert Walker

(“Walker”), Kenneth Macek (“Macek”), Matthew Harner (“Harner”), Avi Setton (“Setton”), and

Lionel Alicea’s (“Alicea”) (collectively, “Plaintiffs”) Class Action Complaint (the “Complaint”)

purports to bring a class action challenging a promotion offered by DK Casino and Golden

Nugget Casino, and two DK Sportsbook promotions (collectively, the “Promotions”). In the

sprawling yet deficient Complaint, Plaintiffs plead claims pursuant to the Pennsylvania Unfair

Trade Practices and Consumer Protection Law (“UTPCPL”), and for negligence, intentional

infliction of emotional distress (“IIED”), intentional misrepresentation, fraudulent inducement,

unjust enrichment, and conversion.

         In summary, Plaintiffs allege that DraftKings and/or Golden Nugget misled them through

advertisements for the Promotions, promising bonus bets or deposit matches, purportedly

causing Plaintiffs to bet more than they otherwise would have and develop gaming addictions.

Certain Plaintiffs also allege that DraftKings and Golden Nugget should have prevented them

from betting on DraftKings’ and Golden Nugget’s platforms because they allegedly displayed

signs of gambling addiction and/or self-excluded from online sports betting or casino play

through the Pennsylvania self-exclusion list. For a number of reasons, all of these claims fail.

         Plaintiffs do not allege which DraftKings promotions they purportedly saw or relied on—

much less come close to satisfying Rule 9(b)’s heightened pleading requirements for their



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common law fraud claims. The Promotions referenced in the Complaint were subject to express

conditions that Plaintiffs concede were disclosed to them in full. Further, licensed gaming

operators like DraftKings and Golden Nugget are immune from liability for harm that results

from gaming by self-excluded individuals. For these and other reasons discussed below, the

Court should dismiss the Complaint in its entirety.

II.    FACTUAL BACKGROUND

       Plaintiffs are residents of Pennsylvania. Walker allegedly became a DraftKings customer

in 2019 or 2020, when he began using DK Sportsbook. Complaint (“Compl.”) ¶ 40. Alicea

allegedly became a customer of DraftKings and Golden Nugget in 2024 and played DK Casino

and Golden Nugget Casino. Id. ¶ 44. Setton allegedly became a DraftKings customer in 2019 and

played on DK Casino and DK Sportsbook. See id. ¶ 43. Harner alleges he was a gambling addict

before he became a customer of DraftKings and Golden Nugget in 2024, and that he was on

Pennsylvania’s casino self-exclusion list beginning in late 2022. Id. ¶¶ 42, 331. He alleges that

he played on DK Casino and Golden Nugget Casino. Id. ¶¶ 42, 186. Macek allegedly has been a

DraftKings customer since 2020 and has played on both DK Sportsbook and DK Casino since

then. Id. ¶ 41. Macek purportedly stopped gambling several times but allegedly resumed after

receiving promotional offers from DraftKings and Golden Nuggets. Id. ¶¶ 261-62, 282. Macek

allegedly opted into Pennsylvania’s five-year self-exclusion program in January 2025. Id. ¶ 293.

He alleges that after opting into Pennsylvania’s self-exclusion program, he received a DraftKings

mailer at his home address advertising a promotion on DK Casino. Id. ¶ 295. Macek did not act

on the mailer. See id.

       Because of their frequent activity on DraftKings’ site, Plaintiffs Macek, Setton, and

Harner allegedly received direct outreach in the form of “custom offers” and promotions, and

were invited into DraftKings’ VIP program. Id. ¶¶ 265, 298, 303, 305. Plaintiff Walker also

purportedly received direct outreach. Id. ¶ 197.

       The Complaint concerns three Promotions:

       (1) The New Customer Promotion. Plaintiffs allege that the New Customer Promotion



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offers a bonus of a deposit match up to $1,000 in site credits (“DK Dollars”) to new DK

Sportsbook customers who meet certain conditions. Among other things, the new customer must

deposit funds into their DraftKings account and place the required type, number and amount of

bets within 90 days of first signing up for a DK Sportsbook account. See id. ¶¶ 223, 236, 241,

255.

         Walker alleges that, “[a]round 2019, when DraftKings’s online sportsbook became

available in Pennsylvania,” he “saw ads for new sportsbook user promotions including a deposit

match promotion on a variety of digital platforms” and “took the opportunity to begin sports

betting.” Id. ¶ 259. Macek alleges that he “learned of the sportsbook promotions from media

advertisements as well as direct email and text correspondence” and “began using [] DraftKings

Sportsbook . . . offerings in November of 2020.” Id. ¶¶ 41, 260. However, the Complaint does

not include any of the advertisements that these Plaintiffs allegedly saw. The Complaint includes

screenshots of two Twitter posts from 2022 and an undated screenshot purporting to be “typical”

of television and digital media advertisements in Pennsylvania “during the class period” –

without any allegation that Walker or Macek saw those particular advertisements. Id. ¶ 243

(Figs. 11-13). Setton is alleged to have “participated in every one of the DraftKings’ misleading

promotional offers” (id. ¶ 299), but he does not allege that he saw or relied on any

advertisements for the New Customer Promotion.

         Macek, Walker, and Setton allege that after opting into the New Customer Promotion and

“satisfying some of the playthrough requirements,” they were “surprised when they did not get

their deposit matched in cash, but instead only got a portion of it matched in DK Dollars[.]” Id.

¶ 189.

         (2) The No Sweat Promotion. Plaintiffs allege that this promotion offers a bonus bet to a

customer who opts into the promotion, deposits a certain amount of funds, and then places a bet

on DK Sportsbook. If the bet loses, DraftKings provides the customer with a bonus bet equal to

the amount of the bet that lost, thereby providing the customer with an opportunity to place a

second bet in the same amount as the lost bet. Id. ¶¶ 201, 202, 218 (Fig. 9).



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        Plaintiffs Macek, Setton, and Walker allege that DraftKings emailed and texted them

about the No Sweat Promotion. Id. ¶ 197. They vaguely allege that they “opt[ed] in to the

promotion on the basis of DraftKings’s advertising that led them to believe they could place a bet

with no risk.” Id. ¶ 217. Walker alleges that he opted into the promotion “after seeing numerous

advertisements on television and social media.” Id. ¶ 40. These advertisements are not described

in the Complaint. Plaintiffs do not allege that they viewed or relied upon any of the

advertisements for the No Sweat Promotion provided in the Complaint, which purport to include:

screenshots of two Twitter posts dated July 2022 and April 2022, an advertisement for “risk free”

bets purporting to be from DraftKings’ website dated April 2025 (even though DraftKings

stopped using that term in 2022), an advertisement from “various digital advertising media”

dated March 2024, and screenshots of the DraftKings app interface from November and

December 2024. Id. ¶¶ 196 (Fig. 4), 213 (Figs. 5-7), 216 (Fig. 8), 218 (Fig. 9), 225 (Fig. 10).

Macek alleges that he participated in multiple No Sweat Promotions, yet he “was surprised and

dismayed to discover [they] were not actually risk-free.” Id. ¶ 263.

        (3) The Casino Promotion. Plaintiffs allege that this promotion offers bonus funds

(“Bonus Funds”) to a customer who opts into the Casino Promotion, deposits funds, and meets

applicable playthrough requirements (the “Playthrough Requirements”) on DK Casino or Golden

Nugget Casino. Upon meeting those requirements, the Bonus Funds can be used to make

additional bets. Id. ¶ 160 (Fig. 3).

        Plaintiffs generally allege that they saw “multiple ads” for the Casino Promotion in

different places over a period of several years, including in email outreach, on billboards, the

DraftKings’ app, television, and social media feeds, but they do not allege when they saw those

advertisements, what those advertisements said, or which advertisements they relied on. Id. ¶¶

144, 154, 156 (Fig. 1), 158, 159 (Fig. 2), 160 (Fig. 3), 161-62, 276. The Complaint instead

purports to depict three “example advertisement[s]” and a description of one television

advertisement, all of which Plaintiffs claim are “substantially similar” to or “like” the

advertisements they saw and relied on. Id. ¶¶ 156 (Fig. 1), 159 (Fig. 2), 160 (Fig. 3), 186. These



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sample advertisements differ in important ways, including the content, dates, and which

Defendant promoted them.

          Plaintiffs Macek, Setton, Alicea, and Harner allege that they were “all deceived by this

promotion, deposited money and opted into it believing they would have their deposits matched,

and lost money as a result.” Id. ¶ 185. Macek alleges that he opted into the Casino Promotion

several times, when DraftKings and Golden Nugget would “entice him back to the site with a

misleading casino promotion.” Id. ¶¶ 261, 284. Setton alleges that he was “frequently was

induced to deposit and gamble by this casino promotion.” Id. ¶ 301.

          Plaintiffs plead claims pursuant to the UTPCPL, and for negligence, IIED, intentional

misrepresentation, fraudulent inducement, unjust enrichment, and conversion. They seek

unspecified injunctive relief, among other remedies.

III.      STATEMENT OF QUESTIONS INVOLVED

       1. Have Plaintiffs failed to state claims for negligence and intentional infliction of emotional

distress (Counts 1, 2, 5, and 12) because: (i) the Pennsylvania State Gaming Act (“Gaming Act”)

immunizes licensed gaming entities like DraftKings from liability from any harm that results

from gaming by self-excluded individuals; (ii) Plaintiffs fail to allege a legal duty DraftKings

owed to them; and (iii) Plaintiffs fail to adequately allege cognizable injury?

Suggested Answer:         Yes.

       2. Have Plaintiffs failed to state claims for negligence (Counts 1 and 2) because they allege

the purportedly negligent conduct was “intentional”?

Suggested Answer:         Yes.

       3. Should the Court dismiss Plaintiffs’ “Failure to Warn” claim (Count 5) because no such

claim exists in this context under Pennsylvania law?

Suggested Answer:         Yes.

       4. Should the Court dismiss Plaintiffs’ Intentional Infliction of Emotional Distress (“IIED”)

claim (Count 12) for failure to state a claim because: (i) the conduct alleged is not extreme or

outrageous; and (ii) Plaintiffs have failed to allege physical harm?



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Suggested Answer:      Yes.

   5. Have Plaintiffs failed to state claims regarding certain DraftKings promotions under the

Unfair Trade Practices and Consumer Protection (“UTPCPL”) (Counts 3, 6, and 7) because

Plaintiffs: (i) fail to adequately plead such claims; (ii) the terms of each of the Promotions

contain the very information that Plaintiffs allege was misrepresented, suppressed, or concealed;

and (iii) Plaintiffs do not allege facts identifying the purported misrepresentations?

Suggested Answer:      Yes.

   6. Should the Court dismiss Plaintiffs’ UTPCPL claims (Counts 3, 6, and 7) because: (i)

Plaintiffs have not plausibly alleged that they relied on the advertisements in the Complaint (or

on any advertisements at all); and (ii) Plaintiffs fail to plead an ascertainable loss?

Suggested Answer:      Yes.

   7. Should the Court dismiss Plaintiffs’ UTPCPL (Counts 3, 6 and 7) because Plaintiffs fail

to plead a causal nexus between the alleged unlawful conduct and the alleged ascertainable loss

from the Promotions?

Suggested Answer:      Yes.

   8. Should the Court dismiss Plaintiffs’ UTPCPL claim for the No Sweat Promotion (Count

6) to the extent it is based on use of the term “no sweat,” because that term is non-actionable and

non-deceptive puffery?

Suggested Answer:      Yes.

   9. Should Plaintiffs’ common law fraud claims (Counts 4, 8, 9, and 10) be dismissed

because Plaintiffs do not plausibly allege: (i) any material misrepresentation; (ii) justifiable

reliance; or (iii) causation under the heightened pleading standard of Rule 9(b)?

Suggested Answer:      Yes.

   10. Is Plaintiffs’ New Customer Promotion fraud claim (Count 9) time-barred?

Suggested Answer:      Yes.

   11. Have Plaintiffs failed to state a claim for unjust enrichment (Count 11) because: (i) the

claim is derivative of the UTPCPL and common law fraud claims and must be dismissed along



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with them; and (ii) Plaintiffs received and used the services they complain about?

Suggested Answer:        Yes.

      12. Should the Court dismiss Plaintiff Setton’s conversion claim (Count 13) because he has

not alleged facts sufficient to state a claim?

Suggested Answer:        Yes.

      13. Do Plaintiffs lack standing to seek injunctive relief because they have failed to plead

imminent future harm?

Suggested Answer:        Yes.

IV.      SUMMARY OF ARGUMENT

         All of Plaintiffs’ claims should be dismissed for multiple independent reasons:

      1. Statutory Immunity: Counts 2 and 12, for negligence and IIED, respectively, must be

dismissed because even if Plaintiffs successfully self-excluded from DraftKings’ and Golden

Nugget’s services, Pennsylvania law squarely immunizes licensed gaming entities like

DraftKings and Golden Nugget from liability from any harm that results from gaming by self-

excluded individuals. 4 Pa. S.C. § 1516.

      2. No Cognizable Legal Duty: The negligence and “failure to warn” claims (Counts 1, 2,

and 5) must be dismissed because, as the Third Circuit recently affirmed, there is no “duty of

care on casinos over problem gamblers.” Antar v. BetMGM, LLC et al., No. 24-1364, 2025 WL

1219316 at * 4 (3rd Cir. Apr. 28, 2025). No court applying Pennsylvania law has ever

recognized any of the duties alleged by Plaintiffs or imposed them on a gaming operator, nor

should the Court do so here.

      3. Other Pleading Failures Defeat the Negligence Claims: The negligence claims (Counts

1 and 2) should also be dismissed for failure to allege physical harm or harm to property, which

is a required element of these claims under Pennsylvania law. These claims also fail because,

according to Plaintiffs’ allegations, DraftKings’ purportedly negligent conduct was “intentional”

(Compl. ¶ 371), and Pennsylvania law does not allow recovery in negligence for intentional torts.

Finally, Plaintiffs’ “failure to warn” claim (Count 5) should be dismissed because there is no



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such claim under Pennsylvania law unless the defendant has undertaken the responsibility to

make the warning, which Plaintiffs do not allege. To the extent Plaintiffs intended to assert a

products-liability claim, that theory fails because DraftKings and Golden Nugget provide a

service, not a product.

   4. No Physical Harm or Outrageous Conduct: The IIED claim (Count 12) fails because

the Plaintiffs do not allege conduct sufficient to satisfy the extraordinarily high bar for

outrageousness, and Plaintiffs further have not alleged any physical harm.

   5. Clear and Full Disclosures: The UTPCPL and common law fraud claims fail because

DraftKings and/or Golden Nugget disclosed the terms and conditions for each of the Promotions

allegedly presented to Plaintiffs, and Plaintiffs do not allege that DraftKings or Golden Nugget

omitted any language, let alone material language, concerning the Promotions’ terms and

conditions, or that they were otherwise false or deceptive in any way. Indeed, Plaintiffs allege

that they continued to opt into the Casino Promotion and No Sweat Promotion even after they

understood the terms. By Plaintiffs’ own pleadings, DraftKings and Golden Nugget did not

misrepresent or conceal anything.

   6. No Plausible Allegations of Misrepresentations or Reliance: Plaintiffs do not allege

facts identifying the purported misrepresentations, as required to support their UTPCPL and

common law fraud claims. Plaintiffs describe various advertisements and promotional materials

but do not allege which ones they saw (if any) or how they relied on them. Additionally, any

reliance on the “no sweat” language is necessarily unreasonable because it is puffery.

   7. No Ascertainable Loss and No Causation: Plaintiffs fail to plead an ascertainable loss

as required to state a claim under the UTPCPL, because the Complaint is silent as to how any

deposits made, winnings received, or rewards earned (or not earned) factor into the damages

calculations for these claims. Likewise, Plaintiffs fail to plead that any loss was caused by the

alleged conduct, rather than by the natural and expected risks of gaming.

   8. Failure to Plead With Particularity (Rule 9(b)): Plaintiffs’ common law fraud claims

(Counts 4, 8, 9, and 10) do not come close to meeting the heightened pleading standard of



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Federal Rule of Civil Procedure 9(b) for the reasons explained above.

     9. Statute of Limitations: Count 9 (intentional misrepresentation) is barred by the two-year

statute of limitations for fraud claims because the Complaint alleges that all of the Plaintiffs who

opted into the New Customer Promotion did so in 2019 or 2020.

     10. Plaintiffs Received the Benefit of Their Bargain: The unjust enrichment claim (Count

11) fails because, as made clear by Plaintiffs’ own pleadings, DraftKings and Golden Nugget did

not fail to provide the service for which Plaintiffs paid. Plaintiffs “received exactly what [they]

thought [they were] purchasing – a gambling experience where winning was not guaranteed.”

Antar, 2025 WL 1219316, at *3. The claim is also subject to dismissal because it is based on the

same improper conduct that forms the basis of the consumer protection and fraud claims, and

fails along with them.

     11. No Standing to Seek Injunctive Relief: Plaintiffs lack standing to seek injunctive relief

because they are aware of the alleged misrepresentations and therefore face no threat of

imminent future injury from the Promotions. They also purport to bring Count 3 under the

consumer protection statutes of other states, but lack standing to do so because the alleged

injuries occurred in Pennsylvania. 1

     12. Other Pleading Deficiencies: Plaintiff Setton fails to adequately plead the elements of

conversion (Count 13) because he does not allege facts demonstrating that he is lawfully entitled

to the account funds at issue.

V.      LEGAL STANDARD

        Under Federal Rule of Civil Procedure 12(b)(6), a court may dismiss a complaint “for

failure to state a claim upon which relief can be granted.” A complaint must be dismissed if it


1
  Plaintiffs are represented by a law firm (Loevy & Loevy) that has filed three other nearly
identical purported nationwide class actions against DraftKings in Illinois, New York and New
Jersey: Beyer et al. v. DraftKings Inc., No. 1:25-cv-01336 (N.D. Ill. Feb. 6, 2025); DeLeon et al.
v. DraftKings Inc., No. 1:25-cv-00644-DLC (S.D.N.Y. Jan. 22, 2025); and Youngs et al. v.
DraftKings, Inc. et al, No. 2:25-cv-00179-SRC-JRA(D.N.J. April 17, 2025) (the “Loevy Class
Actions”).



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does not contain “enough facts to state a claim to relief that is plausible on its face.” Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007). “Factual allegations must be enough to raise a right

to relief above the speculative level.” Id. at 555. Further, a complaint must contain more than

unsupported legal conclusions. Id. “While a complaint attacked by a Rule 12(b)(6) motion to

dismiss does need detailed factual allegations, a plaintiff’s obligation to provide the grounds of

his entitlement to relief requires more than labels and conclusions, and a formulaic recitation of

the elements of a cause of action will not do.” Id. (internal quotation marks and citations

omitted). A claim has facial plausibility when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged.

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A plaintiff must plead more than the mere

possibility of relief. Fowler v. UPMC Shadyside, 578 F.3d 203, 210 (3d Cir. 2009). If the

complaint permits only an inference of the mere possibility of misconduct, it must be dismissed.

Id. at 210–11. The Court “need not credit a complaint’s bald assertions or legal conclusions.”

Morse v. Lower Merion Sch. Dist., 132 F.3d 902, 906 (3d Cir. 1997) (citation omitted).

        Further, Rule 9(b) imposes a heightened pleading standard for claims sounding in fraud.

Fed. R. Civ. P. 9(b) (“In all averments of “fraud or mistake, . . . the circumstances constituting

fraud or mistake . . . shall be stated with particularity.”) “To satisfy this standard, the plaintiff

must plead or allege the date, time, and place of the alleged fraud or otherwise inject precision or

some measure of substantiation into a fraud allegation.” Frederico v. Home Depot, 507 F.3d 188,

200 (3d Cir. 2007).

        A motion to dismiss for lack of standing is properly brought under Rule 12(b)(1). SM

Kids, LLC v. Google LLC, 963 F.3d 206, 210 (2d Cir. 2020). “Standing must be assessed based

on each claim alleged and for each form of relief sought.” Zimmerman v. Highmark, Inc., No.

2:23-CV-250-NR, 2025 WL 1220364, at *5 (W.D. Pa. Apr. 28, 2025). A plaintiff seeking

injunctive relief bears the burden of establishing that they are “likely to suffer future injury from

the defendant’s conduct.” In re Johnson & Johnson Talcum Powder Prods. Mktg., Sales

Practices & Liab. Litig., 903 F.3d 278, 292 (3d Cir. 2018) (internal quotation marks and citations



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omitted).

VI.    ARGUMENT

       A.       The Negligence and IIED Claims Fail (Counts 1, 2, 5, 12).

       The Complaint asserts three negligence-based claims: (1) “Negligence” brought by

Macek, Setton, Alicea, and Harner, alleging that DraftKings owes a duty to “foreseeable victims

of gambling addictions” that it purportedly breached by sending them promotions (Count 1),

(Compl. ¶¶ 355 & 369); (2) “Negligence” brought by Setton, Macek, and Harner, alleging that

DraftKings owes a duty “to prevent a user from gambling when they have temporarily or

permanently suspended their accounts or when they are on a gambling self-exclusion list” that it

purportedly breached (Count 2), (Id. ¶¶ 377 & 380); and (3) “Failure to Warn” brought by

Setton, Harner, Alicea, and Macek, alleging that Defendants owe a duty “to ensure that users of

the DraftKings platform were made aware of the material terms of and the risks . . . associated

with the [Casino Promotion]” (Count 5), (Id. ¶ 418).

       Plaintiffs also attempt to assert a claim for IIED (Count 12), alleging that Defendants

“solicit[ed] Plaintiffs . . . to resume gambling despite knowing they had opted into programs

designed to prevent them from gambling.” Id. ¶ 509.

       Each of these claims suffers from numerous pleading and legal defects. They should each

be dismissed.

                1.     The Gaming Act Bars Counts 2 (Negligence) and Count 12 (IIED).

       Pennsylvania law expressly bars the negligence claim in Count 2 and the IIED claim in

Count 12. In those claims, Plaintiffs allege that Defendants should be held liable for purportedly

allowing customers who opted into self-exclusion programs to bet on DraftKings’ platform.

Plaintiffs allege that Defendants breached a purported duty “to prevent a user from gambling

when they have temporarily or permanently suspended their accounts or when they are on a

gambling self-exclusion list.” Id. ¶ 377. Similarly, in support of the IIED claim, Plaintiffs allege

that Defendants “solicit[ed] Plaintiffs . . . to resume gambling despite knowing they had opted

into programs designed to prevent them from gambling.” Id. ¶ 509.



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       To be clear, DraftKings denies these allegations. But even assuming their truth (as

required at this stage), gaming operators are expressly immunized from liability based on such

allegations under Pennsylvania law. The Gaming Act provides:

               A licensed gaming entity or employee thereof shall not be liable to any self-
               excluded person or to any other party in any judicial proceeding for any harm,
               monetary or otherwise, which may arise as a result of:

                       (1) the failure of a licensed gaming entity to withhold gaming privileges
                       from or restore gaming privileges to a self-excluded person;

                       (1.1) the failure of an interactive gaming certificate holder or interactive
                       gaming operator to withhold interactive gaming privileges from or restore
                       interactive gaming privileges to a self-excluded person; or

                       (2) otherwise permitting or not permitting a self-excluded person to
                       engage in gaming activity in the facility or participate in interactive
                       gaming while on the list of self-excluded persons.

4 Pa. S.C. § 1516 (emphasis added).

       This provision of the Gaming Act squarely bars claims against licensed gaming entities

like Defendants alleging liability for any harm that results from gaming by self-excluded
individuals. Thus, even if Plaintiffs had self-excluded, Counts 2 and 12 plainly fail to state a

claim and should be dismissed.

               2.      Plaintiffs’ Negligence Claims Fail (Counts 1, 2, and 5).

       “To state a claim for negligence under Pennsylvania law, a plaintiff must show: 1. the

defendant owed the plaintiff a duty or obligation recognized by law; 2. a breach of that duty; 3. a

causal connection between the conduct and the resulting injury; and 4. actual damages.” Moore
v. Solanco Sch. Dist., 471 F. Supp. 3d 640, 661 (E.D. Pa. 2020).

                       (a)     Plaintiffs Fail to Allege a Legal Duty That Defendants Owed to
                               Them.

       The negligence claims do not satisfy the first element for the simple reason that Plaintiffs

have not alleged any cognizable legal duty that Defendants owed to them, and courts have

consistently held that no such duty exists. In analyzing negligence claims, the “threshold

question” is whether the defendant owed the plaintiff a duty of care. Humphries v. Pa. State



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Univ., 492 F. Supp. 3d 393, 406 (M.D. Pa. 2020). That threshold question is a question of law

that can be decided at the motion to dismiss stage. Id.

       In Counts 1, 2, and 5, Plaintiffs allege that DraftKings and/or Golden Nugget owe a legal

duty to “foreseeable victims of gambling addictions,” which includes purported duties to:

“discover” when customers “are gambling beyond their means” and “help” them, not induce

them to play on DraftKings’ platforms, and meet unspecified “[i]ndustry standards” (Compl. ¶¶

355-59, Count 1); prevent users with gambling addictions from using the platform, including

users who are on a gambling self-exclusion list (Count 2) (id. ¶¶ 376-77); and ensure that users

understand terms and risks of the Casino Promotion before opting in (Count 5 (id. ¶ 418).

       Even setting aside Plaintiffs’ vague and conclusory allegations, none of these legal duties

exists. No court applying Pennsylvania law has ever recognized any of the legal duties that

Plaintiffs allege or imposed such duties on a gaming operator. The Third Circuit recently

affirmed the dismissal of a similar negligence claim because, as a matter of law, there is no “duty

of care on casinos over problem gamblers.” Antar, 2025 WL 1219316 at * 4; see also Hakimoglu

v. Trump Taj Mahal Associates, 70 F.3d 291, 294 (3rd Cir. 1995) (finding that casino owed no

duty of care to patrons who incur gambling losses after being overserved with alcohol). While

Antar was decided under New Jersey law, that same result is dictated by Pennsylvania law. The

Third Circuit based its decision in part on the fact that New Jersey had enacted an “elaborate

regulatory scheme” over the state’s casino and gaming industry that provided only limited civil

remedies. The same is true in Pennsylvania, where the legislature has established an extensive

regulatory framework that governs Defendants’ activities in the Commonwealth and provides

limited civil remedies that do not encompass the harm Plaintiffs allegedly suffered. 2 For

example, as detailed in Section A.1, both Pennsylvania and New Jersey law specifically

immunize casinos for “any harm” that may arise from failing to withhold gaming privileges or



2
 See Rules and Regulations. Title 58. Recreation. Part VII Gaming Control Board, 58 Pa. Code
§ 401a.1, et seq.



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restoring gaming privileges to self-excluded persons. 4 Pa. S.C. § 1516; NJ ST 5:12-71.2(c).

And, as in Antar, a Pennsylvania district court favorably cited a New Jersey district court case

for the proposition that, while a casino may owe a duty of care to maintain safe premises, it did

not owe “compulsive gamblers a duty to protect them from their own gambling behavior.”

Okane v. Tropicana Ent., Inc., No. 12-6707, 2013 WL 56088, at *3 (E.D. Pa. Jan. 3, 2013)

(citing Taveras v. Resorts Int’l Hotel, Inc., No. 07-4555 (RMB), 2008 WL 4372791, at *4, n.3)

(D.N.J. Sept. 19, 2008)).

       This Court should decline to expand Pennsylvania tort law by imposing new legal duties

on gaming operators. Vargus v. Pitman Mfg. Co., 675 F.2d 73, 76 (3rd Cir. 1982) (“We have

been asked to deliver prematurely a new doctrine of Pennsylvania tort law, and as a federal court

we are unwilling to do so.”). Where ‘“there [is] no reported decision by the Pennsylvania

Supreme Court or any other Pennsylvania court addressing the precise issue before [the Court], it

[is] the duty of the District Court to predict how the Pennsylvania Supreme Court would [rule] if

presented with this case.”’ Polt v. Sandoz, Inc., 462 F. Supp. 3d 566 (E.D. Pa. May 26, 2020)

(citation omitted). In making this prediction, “[f]ederalism concerns require that [federal courts]

permit state courts to decide whether and to what extent they will expand state common law.” Id.

at 566-67 (citation omitted). Furthermore, Pennsylvania courts have generally “expressed

reluctance to judicially expand tort liability on public policy grounds as such is properly the role

of the legislature.” Id. In fact, the Third Circuit has already held that “courts have been reluctant

to imply a private right of action for money damages in favor of casino patrons[.]” Antar, 2025

WL 1219316, at *4.

       As the Third Circuit recognized, “courts across the country that have considered the issue

have uniformly rejected imposing such a duty on casinos.” Id. at *3. Courts have refused to hold

gaming operators liable for customers’ “own decision[s]” to participate in gaming. See Ristic v.

Mach. Zone, Inc., No. 15-CV-8996, 2016 WL 4987943, at *4 (N.D. Ill. Sept. 19, 2016)

(declining to impose liability to “protect [a customer] from his own decision to play the

Casino”); Mason v. Mach. Zone, Inc., 140 F. Supp. 3d 457, 469 (D. Md. 2015) (“The Court does



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not sit in judgment of the entertainment choices that Plaintiff and others like her have made—but

it will not allow Plaintiff to foist the consequences of those choices onto an entertainment

purveyor that, at least on the face of this Complaint, appears to have done nothing wrong.”); see

also Merrill v. Trump Indiana, Inc., 320 F.3d 729, 732–33 (7th Cir. 2003) (holding that Indiana

law imposes no duty on casino to eject problem gamer); Allen v. Caesars Ent. Corp., No. 4:23-

CV-00989-MTS, 2023 WL 7181654, at *2 (E.D. Mo. Nov. 1, 2023) (holding that Missouri law

imposes no common-law duty on casinos to protect problem gamblers); Sherman v. Harrah’s

New Orleans Casino, No. 06-2379, 2008 WL 11509255, at *7 (E.D. La. Feb. 12, 2008) (refusing

to impose duty on casinos to identify and exclude problem gamblers); Logan v. Ameristar

Casino Council Bluffs, Inc., 185 F. Supp. 2d 1021, 1025 (S.D. Iowa 2002) (holding that casino

did not owe common-law duty to prevent problem gamer from gaming); Stevens v. MTR Gaming

Grp., Inc., 788 S.E.2d 59, 66 (W. Va. 2016) (finding that video lottery terminal manufacturers

and casinos where terminals are located had no duty to protect users from compulsively gaming);

NOLA 180 v. Harrah’s Operating Co., 94 So. 3d 886, 888-89 (La. Ct. App. 2012) (holding that

casino had no duty to identify and recognize problem gamblers).

       This Court should not recognize or create the new legal duties that Plaintiffs attempt to

allege 3, and it should dismiss all negligence claims (Counts 1, 2, and 5).


3
  To the extent that this Court considers whether to expand tort liability and impose a duty that
no other court has imposed before, Pennsylvania law provides a five-part test to determine the
existence of a duty f care that analyzes: “(1) the relationships between the parties; (2) the social
utility of the [defendant’s] conduct; (3) the nature of the risk imposed and foreseeability of the
harm incurred; (4) the consequences of imposing a duty upon the [defendant]; and (5) the overall
public interest in the proposed solution.” Sullivan v. Truist Bank, 715 F. Supp. 3d 668, 674 (E.D.
Pa. 2024). (citations omitted). Even under that five-factor test, no duty of care exists here. Antar,
2025 WL 1219316, at *3 (finding casinos owe no duty of care to compulsive gamblers under
New Jersey’s identical five factor test). Plaintiffs are simply DraftKings and Golden Nugget
customers; they do not allege “any special position of respect or trust with each other, so as to
impose a special duty of care.” Sullivan, 715 F. Supp. 3d at 675. (citation omitted). In weighing
the social utility of Defendants’ actions against the nature of the risk and foreseeability of harm,
Pennsylvania specifically “passed a bill to legalize internet gambling,” and as the Third Circuit
has made clear, losses are “a natural result” of participating in this activity (and therefore
foreseeable independent of Defendants’ conduct), and “present almost metaphysical problems of



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                          (b)    The Complaint Does Not Adequately Allege Cognizable Injury
                                 Caused by Purported Negligence.

          Plaintiffs’ negligence claims also fail to satisfy the third and fourth required elements: “a

causal connection between the conduct and the resulting injury” and “actual damages.” Moore ,

471 F. Supp. 3d at 661. Under Pennsylvania law, a negligence claim will be dismissed if the

plaintiff “fails to plead sufficient facts alleging physical injury or property damage[.]” Lloyd v.

Covanta Plymouth Renewable Energy, LLC, 517 F. Supp. 3d 328, 332 (E.D. Pa. 2021); Aetna

Inc. v. Insys Therapeutics, Inc., 324 F. Supp. 3d 541, 555 & n.49 (E.D. Pa. 2018) (“Under

Pennsylvania law, the [economic loss] doctrine provides that ‘no cause of action exists for

negligence that results solely in economic damages unaccompanied by physical injury or

property damage.’”) (quoting Excavation Techs., Inc. v. Columbia Gas Co. of Pennsylvania, 985

A.2d 840, 841 n.3 (Pa. 2009)).

          The Complaint does not allege that Plaintiffs were physically injured or that their

property was damaged. See generally Compl. In support of Count 1, Plaintiffs claim only

“financial and emotional” injuries, which are not recoverable on a negligence claim. Id. ¶ 370;

Aetna Inc., 324 F. Supp. 3d at 555. 4 For Counts 2 and 5, while Plaintiffs make inadequate

conclusory allegations that they have been “damage[d],” they fail to identify a physical injury or

property damage, and it is implausible that they suffered such injury based on Defendants’

alleged conduct. Compl. ¶¶ 381, 421. Counts 1, 2, and 5 should all be dismissed for failure to

state a claim because they do not allege physical harm or harm to property.

                          (c)    Counts 1 and 2 Fail Because Plaintiffs Plead Intentional
                                 Conduct.

          Counts 1 and 2 fail for the additional reason that, according to Plaintiffs’ allegations,



proximate causation.” Compl. ¶ 1; Antar, 2025 WL 1219316, at *2. (citation omitted). As to the
latter two factors, the extensive regulation of the gaming industry is “by design” to balance not
only the “protection of gambling patrons” but also the “protection of the financial viability of the
casino industry.” Id. at *4 (internal quotation marks and citation omitted).
4
    Plaintiffs have not asserted a claim for negligent infliction of emotional distress.



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DraftKings’ purportedly negligent conduct was “intentional.” Compl. ¶ 371 (“DraftKings’

actions were intentional and done with a wanton and willful disregard”), 382 (same).

“Pennsylvania law does not allow for recovery in negligence for what should be alleged as an

intentional tort.” Andrews v. Fullington Trail Ways, LLC, No. 3:15-228, 2016 WL 3748579, at

*8 (W.D. Pa. July 8, 2016); Moore , 471 F. Supp. 3d at 671 (ruling that “a negligence claim

[wa]s not stated” where “alleged conduct was clearly intentional”); DiSalvio v. Lower Merion

High Sch. Dist., 158 F. Supp. 2d 553, 561 (E.D. Pa. 2001) (dismissing plaintiff’s negligence

claim because plaintiff alleged that defendant “acted with intent”). While DraftKings vehemently

denies any intentional misconduct, Plaintiffs’ negligence claims cannot survive given the clear

allegations in their Complaint.

                        (d)     The Claim Titled “Failure To Warn” Fails for Independent
                                Reasons (Count 5).

         Plaintiffs purport to assert a claim titled “failure to warn.” But there is no such claim

under Pennsylvania law other than in specialized contexts, namely strict products liability, or

where the defendant has expressly “undertaken the responsibility of making th[e] warning.”

Sheridan v. NGK Metals Corp., 609 F.3d 239, 263 - 644 (3d Cir. 2010). Neither provides a basis

for Count 5.

         Plaintiffs have not alleged any facts that would show Defendants expressly undertook a

duty to ensure that users opted into the Casino Promotion only if they “understood its terms and

risks.” Compl. ¶ 420. The claim therefore cannot proceed on that basis. See Sheridan, 609 F.3d at

263–64 (affirming dismissal for failure to state a claim where complaint failed to allege that the

defendant had “undertaken the responsibility of making th[e] warning” that allegedly was not

made).

         To the extent Plaintiffs intended to assert a products-liability claim, that theory fails as

well. Plaintiffs challenge a promotion for a service, not a product. Compl. ¶¶ 417-18 (alleging

that Defendants owed a duty in connection “with the Casino Deposit Match Promotion”). Nor

could Plaintiffs possibly allege a products-liability claim against DraftKings or Golden Nugget




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for offering DK Casino, Golden Nugget Casino, or DK Sportsbook, which are services (the

ability to make bets on an online platform). One cannot hold them, store them, eat them, or sell

them. This reality defeats Plaintiffs’ claims, for in Pennsylvania, “products” subject to “products

liability” law must be tangible. That blackletter rule follows from the Restatement (Second) of

Torts § 388, which Pennsylvania has adopted, and its requirement that plaintiffs pursuing

products liability claims have suffered physical harm resulting from the use of “chattels.”

Parkinson v. Guidant Corp., 315 F. Supp. 2d 741, 748 (W.D. Pa. 2004); Restatement (Second) of

Torts § 388 (1965); see also Romeo v. Pittsburgh Assocs., 787 A.2d 1027, 1032 (Pa. 2001)

(holding that products liability did not apply because the “sale of a ticket to a baseball game is

the sale of a service, not a product”). Where a plaintiff does not challenge a “product,” a claim

challenging the “adequacy of warnings” fails to state a claim. 5 Smith v. Linn, 563 A.2d 123, 127

(Pa. Super. Ct. 1989) (holding that plaintiff had no products liability claim because expressive

content in a diet book was not a product).

               3.      The IIED Claim Fails (Count 12).

       Plaintiff’s IIED claim is based on conduct for which Defendants are statutorily immune.

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  This bright-line rule is not unique to Pennsylvania. Courts routinely reject products liability
claims against internet-based platforms and software service providers. See, e.g., D’Ambrosio v.
Rajala, No. 24-cv-00678, 2025 WL 1383286, at *12 (N.D. Ill. May 13, 2025) (dismissing
products liability claim based on alleged defects with Meta’s app and algorithm because they are
“service platforms,” not products); Brandt v. Bos. Sci. Corp., 792 N.E.2d 296, 302 (Ill. 2003)
(holding that courts “must find that the defendant sold a product rather than services before
imposing liability.”); Jackson v. Airbnb, Inc., 639 F. Supp. 3d 994, 1010-11 (C.D. Cal. 2022)
(finding Airbnb’s platform is “more akin to a service than to a product”); Eberhart v.
Amazon.com, Inc., 325 F. Supp. 3d 393, 399 (S.D.N.Y. 2018) (ruling Amazon is a provider of
services through its marketplace and not a distributor of products); Jacobs v. Meta Platforms,
Inc., No. 22CV005233, 2023 WL 2655586, at *4 (Cal. Super. Ct. Mar. 10, 2023) (dismissing
product liability claim where “Plaintiffs’ negligent design claim is based on the design of the
social media platform itself, which provides a service”); Jane Doe No. 1 v. Uber Techs., Inc., 79
Cal.App.5th 410, 419 (2022) (“Uber app was not a product, and thus a products liability theory
of recovery was not legally viable.”); Ziencik v. Snap, Inc., No. CV 21-7292-DMG (PDx), 2023
WL 2638314, at *4 (C.D. Cal. Feb. 3, 2023) (“Snapchat is more like a service than a product,
and services are not subject to the laws of strict products liability.”); Rodgers v. Christie, 795 F.
App’x 878, 880 (3d Cir. 2020) (finding under New Jersey law, algorithm embodied in software
was “neither ‘tangible property’ nor remotely ‘analogous’ to it.”).



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But even if it were not, Plaintiffs fail to state a claim because the conduct alleged is not extreme

or outrageous, and Plaintiffs have not alleged physical harm.

       Under Pennsylvania law, IIED has the following elements: “(1) the conduct must be

extreme or outrageous; (2) the conduct must be intentional or reckless; (3) it must cause

emotional distress; and (4) the distress must be severe.” Burke v. Barr, No. 5:22-CV-3464, 2025

WL 868617, at *4 (E.D. Pa. Mar. 19, 2025). (citations omitted). Moreover, “Pennsylvania law

requires that some type of physical harm be shown in order to satisfy the severe emotional

distress element.” Id.; Suniaga v. Downingtown Area Sch. Dist., 765 F. Supp. 3d 413, 431 (E.D.

Pa. 2025 (holding that a plaintiff must demonstrate “some physical manifestation of injury.”).

(citation omitted). Even taking their Complaint as true, Plaintiffs have failed to meet their

burden of adequately pleading these elements.

                       (a)     Plaintiffs Fail to Allege Extreme and Outrageous Conduct.

       As discussed in Section A.1, DraftKings and Golden Nugget are statutorily immune for

the conduct alleged in Count 12: “soliciting Plaintiffs . . . to resume gambling despite knowing

they had opted into programs designed to prevent them from gambling.” Compl. ¶ 509. But even

if they were not, Count 12 should be dismissed because the conduct alleged does not meet the

“extraordinarily high” bar of outrageousness necessary to support a claim for intentional

infliction of emotional distress. Suniaga, 765 F. Supp. 3d at 431.

       Pennsylvania courts have been reluctant to declare conduct “outrageous,” requiring that

“the conduct must be so outrageous in character, and so extreme in degree, as to go beyond all

possible bounds of decency, and to be regarded as atrocious, and utterly intolerable in a civilized

society.” Burke, 2025 WL 868617, at *4 (citations omitted). In assessing a claim for IIED at the

pleading stage, a court is to decide as an initial matter whether the conduct at issue can

reasonably be regarded as sufficiently extreme to constitute “outrageousness” as matter of law.

Simpson v. Phila. Sheriff’s Off., 351 F. Supp. 3d 919, 926-27 (E.D. Pa. 2019). “Only in very

extraordinary cases have plaintiffs been held to state a cause of action under this tort.” Kimmel v.

Peterson, 565 F. Supp. 476, 498 (E.D. Pa. 1983).



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       Pennsylvania law specifically immunizes casinos for “any harm” that may arise from

failing to withhold gaming privileges or restoring gaming privileges to self-excluded persons. 4

Pa. S.C. § 1516; NJ ST 5:12-71.2(c) (emphasis added). It follows that this conduct cannot

possibly be considered “outrageous.” Additionally, Pennsylvania courts hold that conduct that

causes the “mere loss of money” is not outrageous, even if it is intentional. Kimmel, 565 F. Supp.

at 498. (“Plaintiffs strenuously argue that this is . . . a course of fraudulent conduct perpetrated

by a trusted advisor. However, that does not mean that the case rises to the level of outrageous

conduct. It involves the mere loss of money, not the more personal loss of a life or health[.]”). In

Count 12, Plaintiffs do not allege any loss of life or health, or any other conduct that could

plausibly be considered “outrageous” as contemplated by Pennsylvania law. The claim should be

dismissed.

                       (b)     Plaintiffs Fail to Allege Physical Harm.

       Moreover, “[i]n order to state a claim for intentional infliction of emotional distress,

plaintiff must suffer some type of resulting physical harm because of the defendants’ outrageous

conduct.” Kane v. Chester Cnty. Dep’t of Child., Youth & Families, 10 F. Supp. 3d 671, 693

(E.D. Pa. 2014). In order to properly plead an IIED claim in Pennsylvania, a plaintiff “must

support the claim of physical harm resulting from emotional distress with competent expert

medical evidence.” Id. (dismissing IIED claim at the pleading stage where “Plaintiff’s Second

Amended Complaint does not contain any medical evidence supporting an allegation that minor

I.J.P. suffered a physical manifestation of his emotional distress.”). Here, the Complaint contains

no medical evidence, and does not even allege that Plaintiffs were physically injured. See

generally Compl. In support of Count 12, Plaintiffs claim only that they “suffer[ed] severe

emotional distress” without alleging facts to support that conclusion. The claim should be

dismissed for failure to plausibly allege physical harm.

       B.      The UTPCPL and Common Law Fraud Claims Fail (Counts 3, 4, 6, 7, 8, 9,
               and 10).

       Plaintiffs challenge each of the Promotions under the UTPCPL, 73 P.S. § 201-1, et seq.,




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and common law claims for intentional misrepresentation and fraudulent inducement. These

claims suffer from rampant pleading deficiencies and must be dismissed.

                1.      The UTPCPL Claims Fail (Counts 3, 6, and 7).

         In Counts 3, 6, and 7, Plaintiffs allege that DraftKings’ and/or Golden Nugget’s

advertisements for the Casino Promotion 6, No Sweat Promotion, and Deposit Match Promotion,

respectively, were misleading and deceptive in violation of the UTPCPL. Plaintiffs primarily rely

on the statute’s “catch-all” provision, which prohibits “[e]ngaging in any other fraudulent or

deceptive conduct which creates a likelihood of confusion or of misunderstanding.” 7 73 P.S. §

201-2(4)(xxi); Compl. ¶¶ 388, 429, 447. To state a claim under the catch-all provision, a Plaintiff

must allege, at a minimum: (1) a deceptive act, meaning “conduct that is likely to deceive a

consumer acting reasonably under similar circumstances”; (2) justifiable reliance based on the

defendants’ misrepresentation or deceptive conduct; and (3) an ascertainable loss caused by this

justifiable reliance. Vassalotti v. Wells Fargo Bank, N.A., 732 F. Supp. 2d 503, 511 (E.D. Pa.

2010).

         For Counts 6 and 7, Plaintiffs also rely on the UTPCPL’s false advertising provisions,

which prohibit “[r]epresenting that goods or services have . . . characteristics, . . . benefits or

quantities that they do not have” (73 P.S. § 201-2(4)(v); Compl. ¶¶ 427, 445), and “[a]dvertising

goods or services with intent not to sell them as advertised” (73 P.S. § 201-2(4)(ix); Compl. ¶

446). To set forth a claim for false advertising under these provisions, a plaintiff must allege: (1)



6
  Plaintiffs also purport to bring this claim under the consumer protection statutes in other states.
Compl. ¶ 387. However, Plaintiffs are residents of Pennsylvania and do not allege that they saw
advertisements for the Casino Promotion in other states and therefore lack standing to sue under
those states’ statutes.
7
  As a preliminary matter, the catch-all provision should not even apply because the statute has
dedicated provisions for false advertising. See Commonw. by Shapiro v. Golden Gate Nat’l
Senior Care LLC, 648 194 A.3d 1010, 1028 (Pa. 2018) (“Unlike subsections (ix) and (x), neither
subsections (v) nor (xxi) employ the term “advertising,” but describe prohibited conduct in other,
more general, terms. We cannot ignore this distinction or interpret the statute in such a way as to
eliminate this distinction.”).



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“a defendant’s representation is false”; (2) “it actually deceives or has a tendency to deceive”;

and (3) “the representation is likely to make a difference in the purchasing decision.” Seldon v.

Home Loan Servs., Inc., 647 F. Supp. 2d 451, 466 (E.D. Pa. 2009). Plaintiffs have failed to do so,

and Counts 3, 6, and 7 fail to state a claim.

                       (a)     Plaintiffs Fail to Plead a Material Misrepresentation or
                               Deceptive Act.

       All of Plaintiffs’ UTPCPL claims require a material misrepresentation or deceptive act,

and they all fail for the same reason: the terms of each Promotion contain the very information

that Plaintiffs allege was misrepresented, suppressed, or concealed.

       An act or a practice is deceptive if “it actually deceives or has a tendency to deceive.” Id.

None of the Promotions were false or had the capacity to deceive because in each instance, the

terms of the Promotions were explicitly, accurately, clearly, and repeatedly disclosed. Plaintiffs

therefore have not met their pleading obligations under any of the UTPCPL provisions. See

McLean v. Big Lots Inc., 542 F. Supp. 3d 343, 351–52 (W.D. Pa. 2021) (dismissing UTPCPL

claim alleging that defendants’ advertising misrepresented that face masks were subject to sales

tax because defendants’ conduct “cannot be considered deceptive” where defendants’ receipts

“disclosed the actual pre-tax price of non-medical protective face masks and the actual amount of

sales tax collected in connection with each transaction”); Fed. Trade Comm’n v. Am. Future Sys.,

Inc., No. CV 20-2266, 2024 WL 1376026, at *20 (E.D. Pa. Mar. 29, 2024) (finding where

telemarketing script “disclosed the material terms and conditions of the offer, including the

structure of the subscription, the cost of the subscription and the cancellation policy,” the script

on its face does not create a “‘net impression’ [that] would mislead reasonable consumers into

thinking the publication was ‘free at no risk.’”).

The Casino Promotion (Count 3):

       Plaintiffs allege that the advertisements for this promotion are misleading and deceptive

because they: (i) omitted “any warning regarding the large play-through requirements for the

bonus promotion or any mention of the risk that a consumer’s initial deposit would be forfeited if




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they began but did not complete the promotion;” 8 and (ii) represented that “consumers were

likely to receive a cash-value match of their deposit of as much as $2,000[.]” Compl. ¶¶ 394-95.

       Tellingly, Plaintiffs fail to allege that the Casino Promotion’s terms, or the actual

statements made in the advertisements for the Casino Promotion, are false or misleading. This is

because, by Plaintiffs’ own admission, the terms for the Casino Promotion fully disclose

everything they claim to be misleading or missing. They admit that the provision that “casino

games contributed to the playthrough requirement[s] at varying rates and that the games with the

most favorable potential odds for users contribute[d] only marginally to the playthrough” was in

the terms for the promotion. Id. ¶ 171. They further admit that the Casino Promotion’s terms

contained the following disclosure:

               Failure to complete the play-through requirement, defined below,
               of the Original Deposit and Casino Bonus Funds within seven (7)
               days (the “Play-through Period”) of the Casino Bonus Funds being
               credited to your account will void the award. This will result in
               forfeiture of any wagered and lost portion of the Original Deposit,
               Casino Bonus Funds and any accumulated winnings.

Id. ¶ 174. The “example advertisement” for Golden Nugget’s Casino Promotion also includes all

of the terms that Plaintiffs allege were concealed. It provides:

               100% deposit match up to $1,000 issued in bonus funds. Original
               deposit and bonus funds subject to 10x play-thru at different
               contribution rates within 30 days (720 hours). To receive the max
               bonus, customer must play through a min. cumulative total of
               $20,000 at 100% contribution rates . . . Credits must be wagered 1x
               and stake not included in winnings . . . Play-thrus must be met
               prior to withdrawal of bonus winnings.

Id. ¶ 159, (Fig. 2). The example advertisement also provides a link to the full terms of the



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  Plaintiffs’ failure to warn theory under the UTPCPL fails for the additional reason that, under
the catch-all provision they rely upon, a “nondisclosure theory of deceptive conduct is only
actionable if a vendor had an affirmative duty to disclose the defect in the good or service.”
Halpern v. Ricoh U.S.A., Inc., 2023 PA Super 139, 299 A.3d 1023, 1029 (2023), appeal granted,
314 A.3d 513 (Pa. 2024). As explained in Section A.2(d), Defendants did not have a legal duty to
ensure that users opted into the Casino Promotion only if they understood its terms and risks.



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Promotion. Id.

       Simply put, Plaintiffs cannot dispute the fact that the promotional terms disclose each

aspect of the Casino Promotion of which they now complain. A UTCPL claim is “subject to

dismissal” where “the conduct of defendants could not be considered fraudulent, unfair, or

deceptive because they disclosed all relevant information relating to the” transaction. Ranalli v.

Etsy.com, LLC, 570 F. Supp. 3d 301, 306 (W.D. Pa. 2021) (citing McLean, 542 F. Supp. 3d at

351–53); McLean, 542 F. Supp. 3d at 351–52 (advertised item price “cannot be considered

deceptive” where defendants’ receipts “disclosed the actual pre-tax price” and “the actual

amount of sales tax collected”).

       Plaintiffs complain that DraftKings’ advertisements for the Casino Promotion were

misleading because DraftKings’ disclosures were “hard-to-understand” and “hidden deep in the

promotions’ terms (and not included in even the small print accompanying many advertisements

for the promotions).” Compl. ¶¶ 171-72. However, none of the Plaintiffs allege that they even

saw any specific Casino Promotion advertisement, nor do they specify what terms were included

in the advertisements they purportedly did see. Accordingly, they have failed to allege that
DraftKings made any false representation to them. Weinberg v. Sun Co., 565 Pa. 612, 617 (2001)

(emphasis added) (“There is no authority which would permit a private plaintiff to pursue an

advertiser because an advertisement might deceive members of the audience and might influence

a purchasing decision when the plaintiff himself was neither deceived nor influenced.”).

The No Sweat Promotion (Count 6) and New Customer Promotion (Count 7):

       Plaintiffs’ UTPCPL claims challenging the advertisements for the No Sweat and New

Customer Promotions also fail because Plaintiffs allege that none of the terms were concealed or

misrepresented. Compl. ¶¶ 426, 443. The terms of each of the Promotions contain the very

information that Plaintiffs allege was misrepresented, suppressed, or concealed.

       Plaintiffs include a purported April 2025 advertisement from DraftKings’ website

offering “your next bet risk free up to $50,” even though they admit that DraftKings stopped

using that term in 2022. Id. ¶¶ 213 (Fig. 5), 225. Immediately below, in bold type, the



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advertisement says “View Full Terms.” Id. Plaintiffs also include a purported March 2024

advertisement for the No Sweat Promotion that discloses the very terms Plaintiffs complain were

not disclosed. Id. ¶ 213, (Fig. 6). The advertisement states—immediately above “Bet Now”—

that “if your first bet doesn’t hit,” get a “bonus bet back in the amount of your original wager.”

Id. There is no statement that a new customer would receive “cash refunds,” as Plaintiffs allege.

Id. ¶ 434. The advertisement further states: “Bonus bets expire 7 days (168 hours) after being

awarded. Bonus bets must be wagered 1x before any resulting cash winnings can be withdrawn

and stake is not included in winnings.” Id. ¶ 213 (Fig. 6). In other words, the precise issues

Plaintiffs complain about—the circumstances in which a customer would be eligible to receive a

bonus bet, how long a customer could use that bonus bet, and the fact that the stake would not be

included in winnings from wagering with that bonus bet—were all disclosed on the face of the

advertisement itself and included in Plaintiffs’ Complaint. 9 Id.

       Plaintiffs allege that they did not see the full terms and conditions before opting into the

No Sweat Promotion. Id. ¶ 217. That is irrelevant. Plaintiffs do not allege that the full terms were

unavailable to them – and they concede that the opposite is true. See id. ¶ 213 (Fig. 6); Ranalli,

570 F. Supp. 3d at 307 (finding no allegations of deceptive conduct where “Plaintiff has alleged

he did not realize he was charged a sales tax . . . but not that he was not shown tax information

prior to making his purchase”).

       Plaintiffs also allege that the No Sweat Promotion was “designed to inculcate gambling

addictions in DraftKings’s users.” (Count 6) (Compl. ¶ 435). They do not provide any supporting

allegations concerning how the alleged design of the No Sweat Promotion had the capacity to


9
  Plaintiffs also include a screenshot of what they allege are the “full terms” of a No Sweat
Promotion from November 2024. Id. ¶ 218 (Fig. 9). These terms disclose everything Plaintiffs
claim was misrepresented or hidden. They disclose (i) a customer “get[s] a bonus bet back if you
lose;” (ii) bonus bets are not a refund of the cash wagered by the customer but are instead
“single-use, non-transferable, non-withdrawable and have no cash value”; and (iii) if a customer
places a wager using a bonus bet and wins, the user will not receive their stake back: “Payouts
from Bonus Bet wagers will be transferred to the customer’s cash balance and do not include the
Bonus Bet stake. Ex: if a $10 bonus bet is placed at +100 odds and wins, only the profit of $10
will be credited to the customer’s account.” Id. (emphasis added).


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mislead customers, as required under the UTPCPL. As explained above, the terms of the No

Sweat Promotion were fully disclosed to customers. The fact that the No Sweat Promotion may

have encouraged participating customers to place wagers does not make the promotion itself

misleading, as the Third Circuit has held. Antar, 2025 WL 1219316, at *2 (finding that offers of

bonuses, credits, and deposit matches were “exactly as the hosts represented” and therefore were

not misleading under the New Jersey Consumer Fraud Act).

       With regard to the New Customer Promotion, Plaintiffs again do not allege that any of

the terms were misrepresented or hidden. Indeed, Plaintiffs plead the very terms of that

Promotion about which they claim to have been confused: “[i]n order for a customer to obtain

the ‘$1,000 Bonus,’ he or she would have to satisfy three [] requirements,” which included: (i)

depositing $5,000 up front; (ii) betting $25,000 within 90 days on wagers with odds of “-300 or

longer;” and (iii) placing wagers using “DK Dollars” and winning in order “to accrue a cash

value of $1,000 in their account.” Compl. ¶ 250. Crucially, Plaintiffs allege that those

requirements were “explained.” Id. The UTPCPL claims should be dismissed because Plaintiffs

did not misrepresent, suppress, or conceal the terms of the Promotions.

                       (b)    Plaintiffs Do Not Plead What Advertisements or Promotional
                              Offers They Saw.

       Plaintiffs do not allege facts identifying any purported misrepresentations, as required to

support their claims. Plaintiffs describe various advertisements and promotional materials but do

not allege which ones they saw (if any) or how they relied on them. Courts routinely dismiss

UTPCPL claims under these circumstances, and the Court should do so here. First Liberty Ins.

Corp. v. Haier US Appliance Sols., Inc., No. CV 23-2268-KSM, 2023 WL 5832163, at *6 (E.D.

Pa. Sept. 8, 2023) (dismissing UTPCPL claim for deceptive advertising where plaintiff “has not

identified what those advertisements ‘convey,’” “when they were made,” or “that the Wootens

relied on” them); Bessemer Sys. Fed. Credit Union v. Fiserv Sols., LLC, 472 F. Supp. 3d 142,

180 (W.D. Pa. 2020) (“Bessemer fails to assert when the advertisements at issue were utilized by

Fiserv and/or who viewed and relied on these advertisements and/or when they were viewed. . . .




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Such allegations are not pled with sufficient specificity to plead a claim for a UTPCPL violation

that is plausible on its face.”).

The Casino Promotion (Count 3):

        Plaintiffs allege that, over a period of five years 10, they saw “multiple ads” for the

DraftKings and Golden Nugget Casino Promotions in different places – across “billboards,”

“digital media,” DraftKings’ “platform” and app, on television, and on social media feeds.

Compl. ¶¶ 154, 156 (Fig. 1), 158, 159 (Fig. 2), 160 (Fig. 3), 161-62. Plaintiffs provide

screenshots of three “example advertisement[s]” and describe one television advertisement that

they claim are “like” or “substantially similar” to the advertisements they saw and relied on. Id.

They further allege that they received direct outreach from DraftKings and Golden Nugget with

targeted promotions and “custom offers.” Id. ¶¶ 265, 298, 303. Of particular importance, they do

not allege when they saw those advertisements or offers, or what they said. They also fail to

allege which advertisements or offers they relied on, or that they relied on the examples provided

in the Complaint. Indeed, Plaintiffs themselves admit that the “example” advertisements

substantially differ because they include different terms and varying levels of disclosure. Id. ¶¶

156-57, 159-61. Given the difference in content, sources, dates, and alleged level of disclosure

among the example advertisements – and the additional allegations that Plaintiffs received

“custom offers” and saw “multiple ads” by two different defendants over a period of five years –

Plaintiffs’ allegations that they relied on advertisements that they claim are substantially similar”

to the examples in the Complaint is wholly insufficient to survive a motion to dismiss. See

Kamara v. Columbia Home Loans, LLC, 654 F. Supp. 2d 259, 265 (E.D. Pa. 2009) (dismissing

UTPCPL claim where “plaintiff does not distinguish among [the] defendants in setting forth the

alleged violations”).

        Indeed, even where Plaintiffs provide even minimal detail, it undermines their claims.


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   Plaintiffs allege that they saw advertisements for the Casino Promotion “shortly before” opting
into that promotion. Compl. ¶ 162. Plaintiffs began betting on DK Casino and Golden Nugget
Casino at various times between 2019 and 2024. Id. ¶¶ 41, 261, 186.



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For example, the only two sample advertisements for the Casino Promotion that are dated are

alleged to have run in 2022 and 2023. Compl. ¶¶ 160 (Fig. 3), 161. Alicea and Harner allege that

they saw “numerous advertisements for the deceptive Casino Promotion including those

described above and substantially identical advertisements.” Id. ¶ 186. But these Plaintiffs did

not even begin wagering on DraftKings and Golden Nugget’s platforms until 2024, well after

they allegedly could have seen the sample advertisements. Id. Separately, Macek began betting

on DK Casino at least two years before the sample advertisements even ran. Id. ¶ 260. See

Bessemer, 472 F. Supp. 3d at 180 (dismissing UTPCPL claim where plaintiff’s “citations to the

advertisements at issue are all dated well after the Master Agreement was entered into, and in no

way indicate that the specific advertisements cited were utilized by Fiserv before the parties

executed the Master Agreement.”).

The No Sweat Promotion (Count 6):

       The same issues plague Macek and Walker’s UTPCPL claim based on the No Sweat

Promotion. Compl. ¶ 423. Plaintiffs again allege numerous advertisements on television, on

highways, on public transportation, on social media, and in direct emails, but do not allege that

they actually saw or relied on those advertisements. Id. ¶¶ 194-97. The Complaint includes

screenshots of what purport to be Twitter posts dated April and July 2022, an advertisement for

“risk free” bets purporting to be from DraftKings’ website dated April 2025 (even though they

admit that DraftKings stopped using that term in 2022), an advertisement from “various digital

advertising media” dated March 2024, and screenshots of the DraftKings app interface from

November and December 2024. 11 Id. ¶¶ 196 (Fig. 4), 213 (Figs. 5-7), 216 (Fig. 8), 218 (Fig. 9),

225 (Fig. 10).

       Notably, the Complaint does not even describe these as example advertisements or allege

that Plaintiffs Macek and Walker saw similar advertisements. Indeed, aside from the vague


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  Three of these figures are also included in all the other Loevy Class Action complaints, making
clear the cookie-cutter nature of Plaintiffs’ allegations concerning these advertisements. Compl.
¶¶ 196, 213 (Figs. 5-7), 216 (Fig. 8).



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allegations that Walker “used deposit match and ‘risk-free’ promotional offers after seeing

numerous advertisements on television and social media” (id. ¶ 40), and that Macek and Walker

“opt[ed] in to the promotion on the basis of DraftKings’s advertising that led them to believe

they could place a bet with no risk” (id. ¶ 217), the Complaint does not allege that they saw any

advertisements for the No Sweat Promotion at all. This is plainly insufficient. Weinberg, 565 Pa.

at 617 (finding a private plaintiff has no claim under the UTPCPL simply “because an

advertisement might deceive members of the audience”).

New Customer Promotion:

         The same flaws infect the New Customer Promotion UTPCPL claim (Count 7). Macek

and Walker never allege what specific advertisements they saw or relied on. 12 The Complaint

generally asserts that “countless Pennsylvanians” were exposed to advertisements on television,

billboards and public transport in Pennsylvania, but Macek and Walker fail to identify any of

these advertisements with sufficient particularity, let alone any advertisement that they allegedly

saw. Compl. ¶¶ 234-35.

         The only specific advertisements that Plaintiffs identify in the Complaint are two Twitter

posts from 2022, and an undated screenshot purporting to be “typical” of television and digital

media advertisements in Pennsylvania “during the class period.” Id. ¶ 243 (Figs. 11-13). None of

the Plaintiffs allege that they saw or relied on these (or similar) advertisements, nor could they

have relied on them. Walker and Macek allege that they signed up for DK Sportsbook in 2019

and 2020, respectively – two years before the posts (and, for Walker, before DraftKings even

advertised the New Customer Promotion). Id. ¶¶ 40-41, 234, 259.

         Plaintiffs’ conclusory allegations are plainly insufficient. Walker alleges that “[a]round

2019,” (a year before DraftKings began advertising the New Customer Promotion), he “saw ads

for new sportsbook user promotions including a deposit match promotion on a variety of digital

platforms and . . . took the opportunity to begin sports betting.” Id. ¶ 259. He further alleges that


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     Count 7 is asserted by Macek and Walker only. Compl. ¶ 440.



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he “saw advertisements for DraftKings’s Sportsbook Deposit Match Promotion shortly before

[he] initially deposited funds in [his] accounts on DraftKings.” Id. ¶ 244. However, he fails to

provide an example of an advertisement from 2019. Nor can he, since he admits that DraftKings

has only “advertised their promises of a ‘1,000 Sign Up Bonus’” (that is, the New Customer

Promotion) “[s]ince at least 2020.” Id. ¶ 234. Walker fails to allege that DraftKings advertised a

New Customer Promotion when he signed up for DraftKings’ platform (and was thus a new

customer eligible for the Promotion), and he therefore could not have relied on any

advertisements for the Promotion. Macek alleges that he “learned of the sportsbook promotions

from media advertisements as well as direct email and text correspondence” and “began using []

DraftKings Sportsbook . . . offerings in November of 2020.” Id. ¶¶ 41, 260. However, he

identifies no specific advertisements and fails to provide an example of an advertisement from

2020.

        Even taking the allegations in the Complaint as true, Plaintiffs have utterly failed to

allege what advertisements they relied upon with regard to each of the Promotions. Their failure

to do so warrants dismissal. Bessemer, 472 F. Supp. 3d at 180 (dismissing UTPCPL claim where

plaintiff “fails to allege a single instance wherein any of its members in any specific state relied

on any specific representation of Fiserv.”).

                        (c)     Plaintiffs Do Not Plausibly Plead Reliance.

        Additionally, the UTPCPL claims fail because Plaintiffs have not plausibly alleged that

they relied on the advertisements in the Complaint (or on any advertisements at all). Each

Plaintiff must allege reliance, i.e. that they each opted into the Promotions because they viewed

and believed Defendants’ allegedly false advertisements. Aronson v. GreenMountain.com, 2002

Pa. Super. 316, ¶ 12, 809 A.2d 399, 405 (2002). The Court may determine “even at the motion to

dismiss stage, that a plaintiff’s allegations of justifiable reliance fail as a matter of law.” Palek v.

State Farm Fire and Cas. Ins., Co., 535 F. Supp. 3d 382, 391 (W.D. Pa. 2021).

        As discussed above, the advertisements in the Complaint ran years before, or years after,

Plaintiffs claim to have seen or relied on “similar” advertisements. Moreover, Plaintiffs admit



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that they “frequently” entered the Promotions, which belies the notion that they relied on the

allegedly misleading statements in the advertisements. See, e.g., Compl. ¶¶ 261 (Macek was

repeatedly “entice[d] back to the site with a misleading casino promotion), 263 (Macek

participated in multiple promotions which he “was surprised and dismayed to discover were not

actually risk-free”), Id. 301 (“Plaintiff Setton frequently was induced to deposit and gamble by

this casino promotion”). Even assuming Plaintiffs were initially confused by the clearly-

disclosed terms of the Promotions, as a matter of law, any continued reliance on the supposedly

misleading promotions would no longer be reasonable after Plaintiffs discovered the true facts

the first time they opted in. McLean, 542 F. Supp. 3d at 353 (“[i]f a man knows the truth about a

representation, he is neither deceived nor defrauded, and any loss he may sustain is in effect self-

inflicted.”); Corsale v. Sperian Energy Corp., 412 F. Supp. 3d 556, 567 n.2 (W.D. Pa. 2019)

(“The reasonableness of any belief that Plaintiffs continued to have that the rates charged by

Defendant Sperian Energy would be based on the wholesale market rate . . . is belied by the fact

that Plaintiffs continued on as customers of Defendant Sperian Energy for over two years,

despite receiving a side-by-side comparison each month showing that Defendant Sperian

Energy’s rates were, in Plaintiffs’ words, ‘substantially higher.’”).

                          (d)     Plaintiffs Fail to Plead an Ascertainable Loss.

          “[T]he UTPCPL requires that a plaintiff show that he has suffered, as a result of his

justifiable reliance, an ‘ascertainable loss of money or property, real or personal.’” Corsale, 412

at 565 (citing 73 P.S. § 201-9.2(a)). The loss asserted must be “an actual, non-speculative, loss of

money or property.” Levy–Tatum v. Navient and Sallie Mae Bank, No. CIV. A.15–3794, 2016

WL 75231, *9 (E.D. Pa. Jan. 7, 2016).

          Plaintiffs fail to plead any allegations to satisfy this required element. For the Casino

Promotion (Count 3), Plaintiffs allege only that they “suffered ascertainable losses” but do not

specify what those losses were. 13 Compl. ¶ 401. For the No Sweat Promotion (Count 6),


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     This is plainly insufficient. Weinberg, 565 Pa. at 618 (stating that plaintiffs must allege facts



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Plaintiffs allege only monetary losses in the form of unreceived “cash refunds for bets they

placed and lost[.]” Id. ¶ 434. For the New Customer Promotion (Count 7), Plaintiffs allege only

monetary losses from unreceived “cash deposit match[es] for the funds they deposited in their

DraftKings accounts.” Id. ¶ 452. They do not allege the amount of their losses or specify whether

they would have bet less or not bet at all but for the allegedly deceptive promotions. See

Weinberg, 565 Pa. at 618 (“plaintiff must allege . . . that he purchased Ultra® because he heard

and believed Sunoco’s false advertising that Ultra® would enhance engine performance . . . as

well as the amount he purchased in order to establish the amount of his ascertainable loss.”)

(emphasis added).

       Additionally, losses related to gaming activity pose “metaphysical problems of proximate

causation,” as the Third Circuit recently held. Antar, 2025 WL 1219316, at *3 (affirming

dismissal of New Jersey consumer protection claim based on allegations that online casino

“calculated to mislead and deceive [customer] into continuing to deposit money and gamble on

its platform” because the claim “fails on the ascertainable loss prong”). Id. at *2 (emphasis

added). In Antar, the Third Circuit concluded that an online bettor had not alleged an

ascertainable loss related to his gaming losses, because the court would not be able “to

differentiate the losses [plaintiff] suffered as a result of the defendants’ alleged conduct versus

those losses [plaintiff] suffered as a natural result of [gaming.]” Id. The same is true here.

Although Plaintiffs allege that they were at times successful in the Promotions (see, e.g., Compl.

¶ 189), they are notably silent as to how any deposits made, winnings received, or rewards

earned (or not earned), factor into their damage calculations for any of their claims. Their

pleadings are thus plainly insufficient.

                       (e)     Plaintiffs Fail to Plead a Causal Connection.

       Plaintiffs do not adequately plead a causal nexus between the alleged unlawful conduct

and the alleged ascertainable loss for any of the Promotions. Plaintiffs must show that they


establishing the alleged ascertainable loss).



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“suffer[ed] an ascertainable loss as a result of” the defendant’s conduct. Weinberg, 565 Pa. at

618 (emphasis in original). As explained above, DraftKings and/or Golden Nugget fully

disclosed the terms of the Promotions and did not engage in any unlawful conduct under the

UTPCPL. Plaintiffs make only conclusory statements regarding causation. Compl. ¶¶ 401 (“As a

result of Defendant’s misconduct...”), 434, 452 (“As a direct and proximate result of

DraftKings’s unfair and deceptive practices…”) Furthermore, Macek and Setton allegedly chose

to opt into the Casino Promotion and No Sweat Promotion more than once and after they were

aware of the promotional requirements. Id. ¶¶ 261, 263, 301. Any alleged losses are the result of

their fully informed decisions to continue opting into these promotions, and not any alleged

deceptive conduct by DraftKings or Golden Nugget.

                       (f)     Plaintiffs Cannot Base a UTPCPL Claim (Count 6) on the
                               Vague Term “No Sweat” Because It Is Puffery.

       Count 6 regarding the No Sweat Promotion is deficient for the additional reason that the

term “no sweat” is puffery. The portion of Count 6 alleging that DraftKings’ use of that term

violated the UTPCPL should be dismissed. Spear v. Fenkell, No. CIV.A. 13-02391, 2015 WL

518229, at *1 (E.D. Pa. Feb. 6, 2015) (emphasis added) (“Federal Rule of Civil Procedure

12(b)(6) permits a court to dismiss all or part of an action for “failure to state a claim upon

which relief can be granted.”) (emphasis added).

       “[O]ne who claims a violation of the UTPCPL . . . must overcome the hurdle of puffery.

[] If the words used are mere puffery, they cannot be construed as deceptive.” Kovalev v. Lidl

US, LLC, 647 F. Supp. 3d 319, 352–53 (E.D. Pa. 2022) (internal citation omitted). Pennsylvania

courts distinguish between “misdescriptions or false representations of specific characteristics of

a product,” which potentially are actionable, and statements “expressed in broad, vague, and

commendatory language,” which are not. Castrol Inc. v. Pennzoil Co., 987 F.2d 939, 945 (3d

Cir. 1993) (applying Pennsylvania law); Commonw. by Shapiro, 194 A.3d at 1023 (“Where the

impression created by the [advertising] statement is one of exaggeration or overstatement

expressed in broad language, it may be deemed non-actionable puffery.”) The representations at




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issue here – assuming Plaintiffs even saw them – are the latter.

       Plaintiffs focus on the use of the term “no sweat” in the No Sweat Promotion. Compl. ¶

80. That term is non-actionable puffery because it does not reference specific characteristics that

are falsifiable, but is rather a vague statement of opinion that cannot be measured. See Fusco v.

Uber Techs., Inc., No. 17-00036, 2018 WL 3618232, at *7 (E.D. Pa. July 27, 2018) (finding the

use of term “safe” in advertising is non-actionable puffery because “it is “a matter of opinion

whether this risk would be too high to be called ‘safe’”); Perri v. Prestigious Homes, Inc., No. L-

4169-08, 2012 WL 95564, at *3 (N.J. Super. Ct. App. Div. Jan. 13, 2012) (finding statement that

“there wasn’t anything to be concerned with” is nonactionable puffery).

               2.      The Common Law Fraud Claims Fail (Counts 4, 8, 9, and 10).

       Plaintiffs assert common law fraud claims for intentional misrepresentation and

fraudulent inducement related to each of the Promotions. These claims fail for the reasons

discussed above: Plaintiffs do not plausibly allege any material misrepresentation, justifiable

reliance, or causation, among other deficiencies, and they certainly fail to do so under the

heightened pleading standard of Rule 9(b). The claim based on the New Customer Promotion

(Count 9) is also time-barred.

                       (a)       Plaintiffs Fail to Meet Rule 9(b)’s Heightened Pleading
                                 Requirements.

       Under Pennsylvania law, the elements of intentional misrepresentation and fraudulent

inducement are: ‘“(1) [a] representation; (2) which is material to the transaction at hand; (3)

made falsely, with knowledge of its falsity or recklessness as to whether it is true or false; (4)

with the intent of misleading another into relying on it; (5) justifiable reliance on the

misrepresentation; and, (6) the resulting injury was proximately caused by the reliance.”’

Bellardine v. Ross, No. 17-2264, 2018 WL 3642223, at *5 (E.D. Pa. Aug. 1, 2018) (citation

omitted); Reville Tire Co. v. Ranalli, No. 15-1036, 2017 WL 4224658, at *10 (W.D. Pa. Sept.

21, 2017). Fraud claims must satisfy the “stringent” Rule 9(b) requirements for particularity.

Travelers Indem. Co. v. Cephalon, Inc., 620 F. App’x 82, 85 (3d Cir. 2015); Pa. R. Civ. P.




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1019(b) (“Averments of fraud or mistake shall be averred with particularity.”). Failure to plead

fraud claims with the requisite particularity warrants dismissal. See McLaughlin v. Bayer Corp.,

172 F. Supp. 3d 804, 829 (E.D. Pa. 2016).

       Like the UTPCPL claims, each of the common law fraud claims requires, inter alia, a

material misrepresentation, justifiable reliance, and injury proximately caused by the reliance.

Plaintiffs fail to satisfy these elements under the heightened pleading standard of Rule 9(b) for

three independent reasons.

       First, as discussed above in Section B.1(a), Plaintiffs have not alleged any

misrepresentation of fact. The advertisements for the Promotions could not be misleading

because Plaintiffs themselves allege that the advertisements included the material terms, and the

terms of each Promotion were fully disclosed and explained the very aspects of the Promotions

about which Plaintiffs allege they were confused. Second, for the reasons explained in Section

B.1(b)-(c), Plaintiffs have not pled reliance with the particularity required under Rule 9(b), and

they do not identify any specific advertisement they saw or relied on. See McLaughlin, 172 F.

Supp. 3d at 829 (dismissing misrepresentation claim that “fails to include any allegations as to

(1) the date on which each misrepresentation was made, (2) the precise source of certain of the

misrepresentations, or (3) the circumstances under which each Plaintiff encountered each

misrepresentation” and “only baldly alleges that Plaintiffs ‘justifiably relied on the

misrepresentations’ and ‘would have never had Essure implanted had [they] been aware of the

falsity of the representations.’”) (citation omitted). Third, as discussed in Section B.1(e),

Plaintiffs do not adequately plead a causal nexus between the alleged unlawful conduct and the

alleged losses for any of the Promotions. Thus, the Complaint fails to state a claim for common

law fraud.

                       (b)     The New Customer Promotion Fraud Claim (Count 9) Is
                               Time-Barred.

       Plaintiffs’ fraud claim based on the New Customer Promotion is time-barred. The statute

of limitations for fraud claims in Pennsylvania is two years. Briggs v. Macy’s Inc., 329 F.R.D.




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82, 87 (M.D. Pa. 2018). Although the Complaint does not specify which of the Plaintiffs bring

this claim, only Plaintiffs Macek, Walker, and Setton are alleged to have participated in the New

Customer Promotion or wagered on DK Sportsbook, and they purportedly created their

DraftKings accounts – and were thus new customers eligible for the New Customer Promotion –

in 2019 and 2020. See Compl. ¶¶ 40, 41, 43. Count 9 is therefore time-barred and should be

dismissed.

       C.      The Unjust Enrichment Claim Fails (Count 11).

       Plaintiffs fail to state a claim for unjust enrichment for two independent reasons. First, the

claim is derivative of the UTPCPL and common law fraud claims and must be dismissed along

with them. Second, Plaintiffs admit that they received and used the services they complain about.

       Unjust enrichment may be pleaded either as an alternative to breach of contract or as a

companion to an underlying tort claim. Plumbers’ Loc. Union No. 690 Health Plan v. Apotex

Corp., No. CV 16-665, 2017 WL 4235773, at *10 (E.D. Pa. Sept. 25, 2017). Pennsylvania

defines unjust enrichment as “the retention of a benefit conferred by another, without offering

compensation, in circumstances where compensation is reasonably expected, and for which the

beneficiary must make restitution.” Roethlein v. Portnoff L. Assocs., Ltd., 623 Pa. 1, *16 n.8 (Pa.

2013). To prevail on an unjust enrichment claim, plaintiffs must show that: (1) they conferred a

benefit on defendants; (2) defendants received the benefits; and (3) defendants accepted the

benefits under circumstances that make it inequitable for defendants to retain the benefit without

paying value for it. See Karden Constr. Servs., Inc. v. D’Amico, 219 A.3d 619, 628 (Pa. Super.

Ct. 2019).

       Here, Plaintiffs unjust enrichment claim is not pled as an alternative to breach of contract,

but rather as a companion to the underlying tort claims. Plaintiffs’ unjust enrichment claim fails

because it is based on the same alleged improper conduct that forms the basis of their consumer

protection and fraud claims. See Plumbers’, 2017 WL 4235773, at *10–11 (deceptive conduct

claims under the UTPCPL are characterized as torts). “Where the unjust enrichment claim rests

on the same improper conduct as the underlying tort claim, the unjust enrichment claim will rise



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or fall with the underlying claim.” Whitaker v. Herr Foods, Inc., 198 F. Supp. 3d 476, 493 (E.D.

Pa. 2016). “[A]n unjust enrichment claim based on wrongful conduct cannot stand alone as a

substitute for the failed tort claim.” Id.

        The claim further fails because Plaintiffs participated in the Promotions and received the

service they complain about. A plaintiff cannot sustain a claim for unjust enrichment where they

received and used the product or service complained of. See, e.g. Tatum v. Takeda Pharms. N.

Am. , Inc., No. 12-1114, 2012 WL 5182895, at *5 (E.D. Pa. Oct. 19, 2012) (finding that the

plaintiff’s claim that the defendants were aware of the risks of the drug but chose not to disclose

them failed to state a claim for unjust enrichment because there was no allegation that the

defendants “refused to provide a service or goods after [plaintiffs] provided defendants with a

benefit”); Zafarana v. Pfizer, Inc., 724 F. Supp. 2d 545, 561 (E.D. Pa. 2010) (dismissing unjust

enrichment claim where plaintiffs alleged that defendants misled them into desiring a product,

which they then provided to plaintiffs in exchange for payment).

        Defendants did not fail to provide the service for which Plaintiffs paid. In exchange for

their deposits, Plaintiffs received the opportunity to participate in the Promotions and wager on

DraftKings’ and Golden Nugget’s platforms. They did not receive a “worthless” product or

service; rather, they “received exactly what [they] thought [they were] purchasing a gambling

experience where winning was not guaranteed.” Antar, 2025 WL 1219316, at *3. Thus, Count 11

fails to state a claim and must be dismissed.

        D.      The Conversion Claim Fails (Count 13).

        “[U]nder Pennsylvania law, conversion is the deprivation of another’s right of property,

or use or possession of a chattel, or other interference therewith, without the owner’s consent and

without legal justification.” Universal Premium Acceptance Corp. v. York Bank & Tr. Co., 69

F.3d 695, 704 (3d Cir. 1995) (internal quotation marks and citation omitted). Plaintiff Setton fails

to adequately allege that he is lawfully entitled to—or that DraftKings acted without legal

justification in retaining—the alleged account funds at issue. The Complaint merely asserts in a

conclusory fashion that “DraftKings has no lawful justification to retain the $45,000 that Plaintiff



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Setton deposited in his account or won with money that he deposited in his account and that

belongs to him.” Compl. ¶ 516. Plaintiff Setton makes no attempt to explain the factual basis for

his conclusions that the funds at issue lawfully “belong[] to him” and that “DraftKings has no

lawful justification to retain” them. Id. This Court has made clear that such threadbare

allegations concerning conversion of account funds fail to satisfy the federal notice pleading

standard because they “do not rise above the speculative level . . . even when liberally

construed.” See Roach v. Navy Fed. Credit Union, No. 24-CV-6408, 2025 WL 257128, at *4

(E.D. Pa. Jan. 21, 2025) (dismissing conversion claim with prejudice because plaintiff “offer[ed]

no factual support for his conclusion that [defendant] ‘wrongfully restricted access’ to his

accounts and ‘subsequently utilized’ his funds without authorization”). Thus, Setton fails to state

a claim for conversion and it must be dismissed.

       E.      Plaintiffs Lack Standing to Seek Injunctive Relief.

       Plaintiffs purport to seek unspecified injunctive relief without a showing of imminent

future harm. Compl. ¶¶ 438-39, 455-56. A plaintiff seeking injunctive relief bears the burden of

establishing that they are likely to suffer future injury from the defendant’s conduct.” In re

Johnson & Johnson Talcum Powder Prods. Mktg., Sales Practices & Liab. Litig., 903 F.3d at

292 (internal quotation marks and citations omitted). Plaintiffs who have become aware of

alleged misrepresentations are not in danger of being deceived by them again. See id. (“Because

Estrada makes clear in this very lawsuit that she is well aware of health risks associated with

using Baby Powder, we readily conclude that she is not likely to suffer future economic injury.”)

Were Plaintiffs to enter any of the Promotions now, they could not claim to be deceived or

harmed. They therefore lack standing to seek injunctive relief.

VII.   CONCLUSION

       The Court should grant Defendants’ Motion to Dismiss and dismiss each and every claim

in the Complaint without leave to amend. Defendants request oral argument on this Motion.




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 Dated: June 24, 2025                   By: /s/ Melissa L. Perry

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            CERTIFICATE OF MEET AND CONFER/NON-CONCURRENCE

       The parties met and conferred by video conference on June 18, 2025 and were unable to

resolve the issues raised in this Motion.



                       CERTIFICATE OF USE OF GENERATIVE AI

       No portion of the brief, including legal or factual citations, was generated by any

Generative AI program. ChatGPT was used only to assist in editing the brief. A person has

checked the accuracy of all citations and legal authority.




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                                CERTIFICATE OF SERVICE
       I, Melissa L. Perry, hereby certify that on June 24, 2025, I caused a true and correct copy

of the foregoing to be served on all counsel of record by ECF.



                                             /s/Melissa L. Perry
                                             Melissa L. Perry




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